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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                JACKSONVILLE DIVISION


 SOFIA KATRIN SMITH,

        Petitioner,

                  v.                               Case No. 3:05-cv-1076-J-12HTS
                                                            3:88-cr-215-J-12

 UNITED STATES OF AMERICA,

        Respondent.



                                          ORDER

        By Order (Civ. Doc. 8, Crim. Doc. 1754), filed January 12,2006, the Court dismissed

 the Petitioner's s2255 motion without prejudice as a successive petition for lack of

jurisdiction for failure to obtain permission for filing from the Eleventh Circuit Court of

 Appeals. Upon review of the record, the Court notes that the Petitioner's first S2255

 motion was dismissed for lack of jurisdiction because the Petitioner's appeal of her

 conviction was pending, no ruling was made on the merits of her claims. See Crim. Docs.

 1167 and 1174. As a result, her second s2255 motion was not subject to the requirement

 that she obtain permission for filing from the Eleventh Circuit Court of Appeals. As a result,

 the Court will vacate it's Order (Civ. .Doc. 8, Crim. Doc. 1754) and set aside the Judgment

 (Civ. Doc. 9).

        Nevertheless, the Petitioner's (52255 (Civ. Doc. I,Crim Doc. 1733) motion is still due

 to be dismissed as untimely. The Petitioner asserts that the United States Supreme Court

 cases of United States v. Booker, 543 U.S. 220 (2005) and B l a k e l ~v. Washinqton, 542
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 U.S. 296 (2004) are new rules of constitutional law made retroactive to cases on collateral

 review. As a result, he claims that he is due to be re-sentenced in accordance with those

 cases.

          The Eleventh Circuit has held that Booker and Blakelv do not qualify as new rules

 of constitutional law for s2255 purposes because the Supreme Court has not made them

 retroactively available on collateral review. In re Anderson, 396 F.3d 1336, 1339 ( I lth

 Cir.2005)(addressing Booker), In re Dean, 375 F.3d 1287,1290 (1 lth
                                                                   Cir. 2004)(addressing

 Blakelv). As a result, a new one-year period in which to file a s2255 motion has not

 commenced. Since the Petitioner's conviction was final in 1993 (seeSmith v. United

 States, 507 U.S. 990 (1993)), her s2255 is untimely. Accordingly, it is

          ORDERED AND ADJUDGED:

          1.    That the Court's Order (Civ. Doc. 8, Crim. Doc. 1754) is vacated and the

 Judgment (Civ. Doc. 9) is set aside;

          2.    That the Petitioner's second § 2255 motion (Civ.Doc. I,Crim.Doc.1733) is

 dismissed without prejudice as untimely, the civil case is dismissed without prejudice, and

 the Clerk is directed to enter judgment, close the civil case, and terminate the criminal

 motion.

          DONE AND ORDERED this         a h day of January 2006.

                                             44, d w. /mJ&VL
                                            SENIOR UNITED STATES DISTRICT JUDGE


 Copies to:
       AUSA (Ronca)
       Petitioner
